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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:

PATSY J. PIERSON,                                          Case No.: 14-05033
                                                           Chapter 13 - Filed: 07/29/2014
      Debtor.                                              Converted Ch. 7 - 10/06/2014
________________________/ /

                   ORDER FOR PAYMENT OF FINAL CHAPTER 7
                   FEES AND EXPENSES OF RAYMAN & KNIGHT,
                 ATTORNEYS FOR THOMAS A. BRUINSMA, TRUSTEE

                       PRESENT: HONORABLE SCOTT W. DALES
                             United States Bankruptcy Judge

       THIS MATTER having come to be heard upon the Notice to Creditors and Other Parties
in Interest of Application for Professional Fees Pursuant to Rule 2016-- and Notice of the Right
to Object; said Notice having been noticed to all creditors and other parties in interest in the
estate; and the Court having reviewed said Application; and the court having found that the fees
and expenses thereof requested were necessary and reasonable; and the Court otherwise being
fully advised in the premises;
       IT IS THEREFORE ORDERED AND ADJUDGED that the fees and expenses of
Rayman & Knight, in the amount of $5,752.96 (fees $5,560.00, expenses $192.96) SHALL BE
AND HEREBY ARE approved pursuant to 11 U.S.C. §330.
       IT IS FURTHER ORDERED AND ADJUDGED that the fees and expenses of
Rayman & Knight in the amount of $5,752.96 (fees $5,560.00, expenses $192.96) are authorized
to be paid by the Trustee.

This Document Prepared By:
RAYMAN & KNIGHT
141 E. Michigan Avenue, Suite 301
Kalamazoo, MI 49007
Telephone: (269) 345-5156
                                      END OF ORDER
